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  United States Department of Justice
  Office of the United States Trustee
  1100 Commerce St. Room 976
  Dallas, Texas 75242
  (214) 767-1079
  Meredyth A. Kippes, Trial Attorney
  State Bar No. 24007882

                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

  IN RE:                                               §
                                                       §
  STW Resources Holding Corp.,                         §    Case No.: 16-33121-BJH-11
                                                       §
  Debtor.                                              §    Hearing Date: May 4, 2017
                                                       §    Hearing Time: 1:15 p.m.

     Witness and Exhibit List in Connection with United States Trustee’s Motion to
         Dismiss or, in the Alternative, to Convert under 11 U.S.C. §1112(b)(1)
                                 (Docket Entry No. 100)

  TO THE HONORABLE BARBARA J. HOUSER,
  UNITED STATES BANKRUPTCY JUDGE:

           The United States Trustee for Region 6 files this witness and exhibit list in

  connection with his Motion to Dismiss or, in the Alternative, to Convert under 11 U.S.C.

  §1112(b)(1) (Docket Entry No. 100).

                                             Witnesses

      1. Alan Murphy, Debtor’s principal;

      2. Any witness identified by any other party.

                                              Exhibits


 Exhibit                                       Description                                        Admitted
 Number
              Docket Sheet, In re STW Resources Holding Corp., Case No. 16-33121-
  UST-A       BJH-11
  UST-B       Gary Trust’s Motion to Convert Case to Chapter 7 (Docket Entry No. 43)



  Witness & Exhibit List in Connection with U.S. Trustee’s Motion to Dismiss or Convert – Page 1 of 3
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 Exhibit                                       Description                                        Admitted
 Number
 UST-C        Debtor’s Response to Gary Trust’s Motion to Convert Case to Chapter 7
              (Docket Entry No. 62)
  UST-D       Redwood Fund, L.P.’s Joinder in Opposition to Motion to Convert Case
              to Chapter 7 (Docket Entry No. 66)
  UST-E       Debtor’s Local Rule 3016(c) Report Regarding Proposed Plan of
              Reorganization (Docket Entry No. 84)
  UST-F       Order Granting Debtor’s Motion to Extend 11 U.S.C. §1121 Exclusivity
              Periods (Docket Entry No. 94)
  UST-G       Agreed Order Terminating the Automatic Stay (Docket Entry No. 87)
  UST-H       Amended Schedules D, E/F, G and H (Docket Entry No. 52)
  UST-I       Original Schedules (Docket Entry No. 26)


           The United States Trustee reserves the right to use testimony and documents

  offered into evidence by other parties.

           The United States Trustee reserves the right to offer into evidence any other

  exhibit designated by any other party in connection with the hearing on these matters.

           The United States Trustee reserves the right to offer into evidence such additional

  testimony and documents as may be appropriate for rebuttal or impeachment purposes.

  Dated: April 30, 2017.                               Respectfully Submitted,

                                                       WILLIAM T. NEARY
                                                       UNITED STATES TRUSTEE

                                                       /s/ Meredyth A. Kippes
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                                       Certificate of Service

          I certify that I sent copies of the foregoing document on April 30, 2017 to the
  parties listed below via ECF.

                                                   /s/ Meredyth A. Kippes
                                                   Meredyth A. Kippes

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  Witness & Exhibit List in Connection with U.S. Trustee’s Motion to Dismiss or Convert – Page 3 of 3
